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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                ABERDEEN DIVISION

STEVE & SEBRINA WEST                                                                     PLAINTIFFS

V.                                                  CIVIL ACTION NO. 1:19-CV-146-GHD-DAS

STATE FARM FIRE AND
CASUALTY COMPANY AND
JOHN DOES 1-10                                                                         DEFENDANTS

                            ORDER DENYING MOTION TO
                        CONDUCT DEPOSITIONS AND LIMIT COSTS

        On September 18, 2020 – the parties’ discovery deadline – the plaintiffs Steve and Sebrina

West filed a motion to conduct certain depositions outside the discovery deadline as well as to limit

the costs of the defendant’s experts’ depositions. Docket 48. Local Uniform Civil Rule 7(b)(2)(C)

provides that “[a] party must file a discovery motion sufficiently in advance of the discovery deadline

to allow response to the motion, ruling by the court and time to effectuate the court’s order before the

discovery deadline.” L.U.Civ.R. 7(b)(2)(C) (emphasis added). Because the plaintiffs filed the instant

motion on the discovery deadline, compliance with Local Rule 7(b)(2)(C) is impossible. Furthermore,

the Case Management Order entered on October 17, 2019, imposes the following discovery provision:

        [B]efore a party may serve any discovery motion, counsel must first [confer] in
        good faith as required by Fed. R. Civ. P. 37(a)(1). If the attorney conference does
        not resolve the dispute, counsel must contact the chambers of the magistrate judge
        to request a telephonic conference to discuss the issue as contemplated by Fed. R.
        Civ. P. 16(b)(3)(B)(v). Only if the telephonic conference with the judge is
        unsuccessful in resolving the issue may a party file a discovery motion.
Docket 12 (emphasis added). Counsel did not request a telephonic conference to discuss this

discovery dispute prior to filing the motion. For these reasons, the plaintiffs’ Motion to Conduct

Depositions and Limit Costs is DENIED. Should the court grant the defendant’s pending Motion

for Continuance (Docket 45) and if a request for a discovery conference is made, the court will
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consider the plaintiffs’ request to limit costs.

        SO ORDERED, this the 2nd day of October, 2020.
                                                   /s/ David A. Sanders
                                                   UNITED STATES MAGISTRATE JUDGE
